           Case 16-10616-SLM                         Doc 20           Filed 02/16/16 Entered 02/16/16 15:52:53                          Desc Main
                                                                     Document      Page 1 of 53
 Fill in this information to identify the case:

 Debtor name          United Business Freight Forwarders Limited Liability Company

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)         16-10616
                                                                                                                                  Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.     Provident Bank                                         Payroll                          7151                                  $13,373.00




            3.2.     Wells Fargo                                            Operating                        6873                                        $500.00




            3.3.     Wells Fargo                                            Payroll                          6881                                           $0.00




            3.4.     PNC Bank                                                                                4413                                           $0.00




            3.5.     PNC Bank                                                                                5483                                           $0.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                    $13,873.00
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                              page 1
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 Debtor         United Business Freight Forwarders Limited Liability                          Case number (If known) 16-10616
                Company
                Name

6. Does the debtor have any deposits or prepayments?

     No.    Go to Part 3.
     Yes Fill in the information below.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

     No.    Go to Part 4.
     Yes Fill in the information below.

 Part 4:        Investments
13. Does the debtor own any investments?

     No.    Go to Part 5.
     Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No.    Go to Part 8.
     Yes Fill in the information below.

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used      Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     See Rider 8 attached hereto.                                           $0.00                                      $1,554,250.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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                Name



 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)

 51.        Total of Part 8.                                                                                                        $1,554,250.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes
 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used    Current value of
            property                                      extent of           debtor's interest        for current value        debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. Warehouse lease
                     with Landlord Taft
                     Holdings Inc. and
                     Straubinger, Inc. at
                     11298 Boggy Creek
                     Road, Unit 101,
                     Orlando, FL 32824,
                     expires 12/19/2018                   Renter                            $0.00                                            Unknown




 56.        Total of Part 9.                                                                                                                    $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 3
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 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                               Current value of
                                                                                                                               debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities
            Package Policy, West American Ins. Co., Policy No.
            BKW(16)55978761                                                                                                                Unknown


            Commercial Auto Liability Policy, Insurance Co. of the
            State of Pennsylvania, Policy No. CA488-23-64                                                                                  Unknown


            Commercial Auto Physical Damage Policy, Great Lakes
            Reinsurance (UK) PLC, Policy No. RK75737A15                                                                                    Unknown


            Cargo Policy, TT Club Mutual Ins., Policy No. 59561 /
            2015 / 001                                                                                                                     Unknown


            Excess Liability Policy, Travelers Property Casualty
            Company of America, Policy No. ZUP13N3188215NF                                                                                 Unknown


            Workers Compensation Policy, National Union Fire Ins.
            Co., Policy No. WC62790519                                                                                                     Unknown


            Workers Compensation Policy, Insurance Co. of the
            State of PA, Policy No. WC62790518                                                                                             Unknown



 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                                 $0.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 4
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                Name


            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 5
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                 Company
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                            $13,873.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $1,554,250.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $1,568,123.00            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,568,123.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 6
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                       UNITED BUSINESS FREIGHT FORWARDERS
                                 CASE NO. 16-10616
                                Schedules A/B - Rider 8
                           Machinery, Equipment, and Vehicles

                        MODEL                          VIN/OTHER DESCRIPTION
                                         Vehicles
     2016 FREIGHT LINER - CASCADIA EVOLUTION          3AKJGLBGXGSHC7761
     2016 FREIGHT LINER - CASCADIA EVOLUTION          3AKJGLBG1GSHC7762
     2016 FREIGHT LINER - CASCADIA EVOLUTION          3AKJGLBG3GSHC7763
     2016 FREIGHT LINER - CASCADIA EVOLUTION          3AKJGLBG5GSHC7764
     2016 FREIGHT LINER - CASCADIA EVOLUTION          3AKJGLBG7GSHC7765
     2016 FREIGHT LINER - CASCADIA EVOLUTION          3AKJGLBG9GSHC7766
     2016 FREIGHT LINER - CASCADIA EVOLUTION          3AKJGLBG0GSHC7767
     2016 FREIGHT LINER - CASCADIA EVOLUTION          3AKJGLDG2GSHC7768
     2016 FREIGHT LINER - CASCADIA EVOLUTION          3AKJGLBG4GSHC7769
     2016 FREIGHT LINER - CASCADIA EVOLUTION          3AKJGLDG0GSHC7770
     2014 HINO 268A-14                                5PVNJ8JVXE4S56951
     2014 HINO 268A-14                                5PVNJ8JV6E4S57014
     2015 HINO 268A-15                                5PVNJ8JV8F4S58909
     2015 HINO 268A-15                                5PVNJ8JV7F4S58898
     2015 HINO 195-15                                 JHHSDM2H7FK002605
     2015 HINO 268A-15                                5PVNJ8JV0F4S58919




3301017
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 Fill in this information to identify the case:

 Debtor name          United Business Freight Forwarders Limited Liability Company

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)              16-10616
                                                                                                                                        Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
        CROSSROADS
 2.1    EQUIPMENT LEASE AND
        FINANCE,                                      Describe debtor's property that is subject to a lien              $1,034,560.00            $1,097,750.00
        Creditor's Name
        9385 HAVEN AVE.
        RANCHO CUCAMONGA,
        CA 91730-5475
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



        TOYOTA MOTOR CREDIT
 2.2                                                                                                                      $452,817.00               $456,500.00
        CORPORATION                                   Describe debtor's property that is subject to a lien
        Creditor's Name
        P. O. BOX 3457
        TORRANCE, CA
        90510-3457
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number



Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
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              United Business Freight Forwarders Limited Liability
 Debtor       Company                                                                                 Case number (if know)       16-10616
              Name

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.




                                                                                                                              $1,487,377.0
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         0

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                              you enter the related creditor?    account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         United Business Freight Forwarders Limited Liability Company

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)           16-10616
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $810.56         $810.56
           Alexander Thomas                                          Check all that apply.
           9 Whipple St. # 3                                            Contingent
           Worcester, MA 01607                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $974.32         $974.32
           Alfred Aliaj                                              Check all that apply.
           22 Amherst St                                                Contingent
           Worcester, MA 01602                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 41
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 Debtor       Company                                                                                         Case number (if known)   16-10616
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,375.89       $1,375.89
          Allan Haripal                                              Check all that apply.
          5049 Shale Ridge Trail                                        Contingent
          Orlando, FL 32818                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Alphonso Andrus                                            Check all that apply.
          13027 Sandhill park lane                                      Contingent
          Houston, TX 77044                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,749.99       $1,749.99
          Angel Alvarez                                              Check all that apply.
          6918 Cannon way                                               Contingent
          Houston, TX 77086                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,033.08       $2,033.08
          Anterio Begelton                                           Check all that apply.
          311 North Vista Dr. # 1506                                    Contingent
          Houston, TX 77073                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 2 of 41
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 Debtor       Company                                                                                         Case number (if known)   16-10616
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 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $757.55    $757.55
          Anthony Abasolo                                            Check all that apply.
          5005 Georgi Ln                                                Contingent
          Apt# 12                                                       Unliquidated
          Houston, TX 77092                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,206.36    $1,206.36
          Arjune Ramlall                                             Check all that apply.
          109 Compassa Rose Dr                                          Contingent
          Groveland, FL 34736                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,693.46    $2,693.46
          Arshad Farooq                                              Check all that apply.
          4275 Pleasant Run Rd.                                         Contingent
          Apt# 136                                                      Unliquidated
          Irving, TX 75038                                              Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,077.84    $1,077.84
          Ashton Shakur                                              Check all that apply.
          7250 Hickory Branch Cir                                       Contingent
          Orlando, FL 32818                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 3 of 41
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              United Business Freight Forwarders Limited Liability
 Debtor       Company                                                                                         Case number (if known)   16-10616
              Name

 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $30.70    $30.70
          Aston Williams                                             Check all that apply.
          2262 Spring Crest Drive                                       Contingent
          Arlington, TX 76010                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $154.52    $154.52
          Ayala Hernand Luis                                         Check all that apply.
          19 Leamy Street                                               Contingent
          Gardner, MA 01440                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,152.93    $1,152.93
          Balram Baijnath                                            Check all that apply.
          519 Lake Summer Dr                                            Contingent
          Groveland, FL 34736                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,273.37    $1,273.37
          Basil Seeraj                                               Check all that apply.
          899 Princeton Dr                                              Contingent
          Clermont, FL 34711                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Company                                                                                         Case number (if known)   16-10616
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 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          California Franchise Tax Board                             Check all that apply.
          PO Box 942857                                                 Contingent
          Sacramento, CA 94240-0040                                     Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Carlos Baldeo                                              Check all that apply.
          1877 Sanderling Drive                                         Contingent
          Clermont, FL 34711                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $986.27       $986.27
          Charlie Muhamed                                            Check all that apply.
          9707 Sutton Meadows CT                                        Contingent
          Houston, TX 77086                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,522.60       $1,522.60
          Chris Hopkins                                              Check all that apply.
          9100 Mills Rd.                                                Contingent
          Apt 1809                                                      Unliquidated
          Houston, TX 77071                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $692.48       $692.48
          Christian Scott                                            Check all that apply.
          55 Stanton Street                                             Contingent
          Worcester, MA 01605                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Christopher Kumar                                          Check all that apply.
          2517 Holly Berry Circle                                       Contingent
          Clermont, FL 34711                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $872.51       $872.51
          Clifton Chavis                                             Check all that apply.
          6531 Sutton Meadow                                            Contingent
          Houston, TX 77086                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,410.17       $1,410.17
          Cody Braggs                                                Check all that apply.
          2510 Rialto Way                                               Contingent
          Grand Prairie, TX 75052                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,034.30    $2,034.30
          Cory Trahan                                                Check all that apply.
          13206 Beechdale Ct.                                           Contingent
          Houston, TX 77014                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,508.00    $2,508.00
          Daniel Hoecker                                             Check all that apply.
          640 SE Midway Church Rd.                                      Contingent
          Lee, FL 32059                                                 Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $957.47    $957.47
          Daniel Villegas                                            Check all that apply.
          1625 Cottonwood St.                                           Contingent
          Grand Prairie, TX 75050                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $575.52    $575.52
          Danny Dookhie                                              Check all that apply.
          3738 Rose Of Sharon Dr.                                       Contingent
          Orlando, FL 32808                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.27     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,220.27    $1,220.27
          David Hernandez                                            Check all that apply.
          701 Trinity Circle                                            Contingent
          Arlington, TX 76006                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.28     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,159.54    $1,159.54
          David Hernandez                                            Check all that apply.
          607 Heather Trial # 1315                                      Contingent
          Arlington, TX 76011                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.29     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,063.54    $2,063.54
          DeCedric Lewis                                             Check all that apply.
          16539 Sperry Garden Dr                                        Contingent
          Houston, TX 77095                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.30     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $744.68    $744.68
          Demarea Williams                                           Check all that apply.
          1141 secretariat Dr.                                          Contingent
          Grand Prairie, TX 75052                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.31     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,273.51       $1,273.51
          Dennis Seeraj                                              Check all that apply.
          846 Princeton Dr                                              Contingent
          Clermont, FL 34711                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.32     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Derek Tsang                                                Check all that apply.
          1932 Chalice Rd                                               Contingent
          Arlington, TX 76014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.33     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,537.97       $1,537.97
          Derrick Green                                              Check all that apply.
          3322 Dragonwick Dr                                            Contingent
          Houston, TX 77045                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.34     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,303.94       $1,303.94
          Desmond Conrad                                             Check all that apply.
          8018 Cabot St.                                                Contingent
          Houston, TX 77078                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.35     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,126.46       $1,126.46
          Desmond Seeraj                                             Check all that apply.
          846 Princeton Dr                                              Contingent
          Clermont, FL 34711                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.36     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Dominic Lawson                                             Check all that apply.
          6625 Bywood Rd                                                Contingent
          Orlando, FL 32810                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.37     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $820.15       $820.15
          Edwin Richardson                                           Check all that apply.
          2520 Thomson Circle                                           Contingent
          Apt 358                                                       Unliquidated
          Arlington, TX 76006                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.38     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $916.78       $916.78
          Emanuele La Bella                                          Check all that apply.
          19127 Saddleville Mills Lane                                  Contingent
          Cypress, TX 77433                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.39     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,290.09       $2,290.09
          Eric Lopez                                                 Check all that apply.
          5110 Azalea Trace Dr.                                         Contingent
          Houston, TX 77066                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.40     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $858.96       $858.96
          Eric Martel                                                Check all that apply.
          9 David Rd                                                    Contingent
          Shrewsbury, MA 01545                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.41     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Ewing Mattiree                                             Check all that apply.
          3417 Ridgemoore Dr                                            Contingent
          Garland, TX 75044                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.42     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $735.65       $735.65
          Fatarrius Williams                                         Check all that apply.
          3704 Dahlia Dr.                                               Contingent
          Grand Prairie, TX 75052                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.43     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,598.20       $1,598.20
          Fidelis Oputteh                                            Check all that apply.
          3800 Mahonia Way # 2034                                       Contingent
          Arlington, TX 76014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.44     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Francisco Padilla                                          Check all that apply.
          238 W Missouri                                                Contingent
          Dallas, TX 75224                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.45     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,220.60       $1,220.60
          Frederick Sorrell                                          Check all that apply.
          6106 Grey Oaks                                                Contingent
          Houston, TX 77050                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.46     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          G Medina                                                   Check all that apply.
          607 Heather Trail                                             Contingent
          Apt 1313                                                      Unliquidated
          Arlington, TX 76011                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.47     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Ganesh Chattergoon                                         Check all that apply.
          124 Dolletto Dr                                               Contingent
          Davenport, FL 33897                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.48     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,179.59       $1,179.59
          Ganesh Persaud                                             Check all that apply.
          12621 Beltingle Circle                                        Contingent
          Orlando, FL 32837                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.49     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Georgia Department of Revenue                              Check all that apply.
          Taxpayer Services Division                                    Contingent
          1800 Century Blvd, N.E.                                       Unliquidated
          Atlanta, NO 30345-3205                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.50     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,273.90       $1,273.90
          Ghanshyam Daitnarayan                                      Check all that apply.
          2121 Medina Hills Lane                                        Contingent
          Mascotte, FL 34753                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.51     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,182.92    $1,182.92
          Glen Joyner                                                Check all that apply.
          1117 John's Cove Lane                                         Contingent
          Oakland, FL 34787                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.52     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,292.36    $2,292.36
          Gregory Brown                                              Check all that apply.
          11722 Mill Valley Rd.                                         Contingent
          Houston, TX 77048                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.53     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,424.62    $1,424.62
          Gregory Ogilvie                                            Check all that apply.
          2021 Cantura Drive                                            Contingent
          Mesquite, TX 75181                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.54     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,255.32    $1,255.32
          Haimnarine Roopnarain                                      Check all that apply.
          740 Cherry Laurel St                                          Contingent
          Minneola, FL 34715                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.55     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,424.75    $1,424.75
          Harold Ortega                                              Check all that apply.
          5007 FM 1960 W 437                                            Contingent
          Houston, TX 77069                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.56     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,252.70    $1,252.70
          Haseeb Lackram                                             Check all that apply.
          4907 Blarney Dr.                                              Contingent
          Orlando, FL 32808                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.57     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,273.72    $1,273.72
          Hector Travieso                                            Check all that apply.
          2001 Proctor Dr.                                              Contingent
          Grand Prairie, TX 75051                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.58     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,559.15    $1,559.15
          Herman Gipson                                              Check all that apply.
          2131 Laurel Branch Way                                        Contingent
          Houston, TX 77014                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.59     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Hussain Mirza                                              Check all that apply.
          4244 Club House Circle                                        Contingent
          Irving, TX 75038                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.60     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Illinois Department of Revenue                             Check all that apply.
          PO Box 19044                                                  Contingent
          Springfield, IL 62794-9044                                    Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.61     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Internal Revenue Service                                   Check all that apply.
          2970 Market Street                                            Contingent
          Mail Stop 5-Q30.133                                           Unliquidated
          Philadelphia, PA 19104-5016                                   Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.62     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,479.91       $1,479.91
          Ishwar Surujbally                                          Check all that apply.
          148 Sandalwood Dr                                             Contingent
          Kissimmee, FL 34743                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.63     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          James Deloney                                              Check all that apply.
          2803 River Side Pkwy                                          Contingent
          Grand Prairie, TX 75050                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.64     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $828.80       $828.80
          James Griffin                                              Check all that apply.
          9420 Skillman Street, #511                                    Contingent
          Dallas, TX 75243                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.65     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Jared Pack                                                 Check all that apply.
          3405 Kirby Creek Dr                                           Contingent
          Grand Prairie, TX 75052                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.66     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,098.92       $2,098.92
          Jarvis Livings                                             Check all that apply.
          1415 Greens Pwy                                               Contingent
          Apt# 31                                                       Unliquidated
          Houston, TX 77067                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.67     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,486.75       $1,486.75
          Jason Hernandez                                            Check all that apply.
          7150 Smiling Wood Lane                                        Contingent
          Apt # 903                                                     Unliquidated
          Houston, TX 77086                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.68     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,712.36       $1,712.36
          Jason Shah                                                 Check all that apply.
          2438 N. Macarthur Blvd                                        Contingent
          Apt# 1504                                                     Unliquidated
          Irving, TX 75062                                              Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.69     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Jerry Singleton                                            Check all that apply.
          11518 Ridge Run Dr.                                           Contingent
          Houston, TX 77064                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.70     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $725.42       $725.42
          Johntavis Tobias                                           Check all that apply.
          3704 Dahlia Drive                                             Contingent
          Grand Prairie, TX 75052                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.71     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Jonathan Smith                                             Check all that apply.
          18749 Marsh Lane                                              Contingent
          Apt 521                                                       Unliquidated
          Dallas, TX 75287                                              Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.72     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $902.47       $902.47
          Jordan Sandman                                             Check all that apply.
          1671 Main St. Apt# 13                                         Contingent
          Leicester, MA 01524                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.73     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,596.47       $1,596.47
          Jose Reyes                                                 Check all that apply.
          2402 Green Knoll Dr.                                          Contingent
          Houston, TX 77067                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.74     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $791.36       $791.36
          Joseph Aubin                                               Check all that apply.
          110 Southbridge Rd.                                           Contingent
          Dudley, MA 01571                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.75     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $898.94    $898.94
          Joseph Rodriguez                                           Check all that apply.
          44 Wellington St                                              Contingent
          Worcester, MA 01610                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.76     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $839.25    $839.25
          Joshua Seymour                                             Check all that apply.
          190 Main Street                                               Contingent
          Oxford, MA 01540                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.77     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,376.59    $1,376.59
          Juan Reyes                                                 Check all that apply.
          509 Valley Spring Dr.                                         Contingent
          Arlington, TX 76018                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.78     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $810.98    $810.98
          Kenneth Williamson                                         Check all that apply.
          32 Crane St. Apt 2                                            Contingent
          Worcester, MA 01604                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.79     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $778.76       $778.76
          Kenneth Woodard                                            Check all that apply.
          15851 Reddy Ln.                                               Contingent
          Houston, TX 77053                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.80     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Kevin Bhagirati                                            Check all that apply.
          669 Division Street                                           Contingent
          Elizabeth, NJ 07201                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.81     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $599.41       $599.41
          Kevin Boyce                                                Check all that apply.
          2207 Foxcroft Lane                                            Contingent
          Arlington, TX 76014                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.82     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Kevin Rice                                                 Check all that apply.
          904 Oak Forest Drive                                          Contingent
          Dallas, TX 75232                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.83     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Khalid Malik                                               Check all that apply.
          3205 W. Walnut Hill Lane                                      Contingent
          Unit 2011                                                     Unliquidated
          Irving, TX 75038                                              Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.84     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,658.89       $1,658.89
          Khemchand Gajju                                            Check all that apply.
          135 East Main St.                                             Contingent
          Apt. G2                                                       Unliquidated
          Westborough, MA 01581                                         Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.85     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,190.68       $1,190.68
          Lakeram Lilldat                                            Check all that apply.
          2576 Shadetree Court                                          Contingent
          Kissimmee, FL 34744                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.86     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $469.70       $469.70
          Lakshman Ram                                               Check all that apply.
          2861 Magnolia Blossom Circle                                  Contingent
          Clermont, FL 34711                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.87     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $828.25       $828.25
          Larry Howlett                                              Check all that apply.
          3104 San Frando                                               Contingent
          Arlington, TX 76010                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.88     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $880.45       $880.45
          Lasalle Guice                                              Check all that apply.
          607 Almandora Dr.                                             Contingent
          Arlington, TX 76002                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.89     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Latine Mitchell                                            Check all that apply.
          826 Willow West Dr                                            Contingent
          Houston, TX 77073                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.90     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $887.17       $887.17
          Ledarius Heckard                                           Check all that apply.
          2508 Whisper Ridge Ln                                         Contingent
          Arlington, TX 76006                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.91     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Leterio Brown                                              Check all that apply.
          9100 Milles Rd                                                Contingent
          Unit 2109                                                     Unliquidated
          Houston, TX 77070                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.92     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $606.44       $606.44
          Luis Montalban                                             Check all that apply.
          111 Endicott St.                                              Contingent
          Apt# 3                                                        Unliquidated
          Worcester, MA 01610                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.93     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,514.63       $1,514.63
          Luis Ramirez                                               Check all that apply.
          20215 Chad Arbor Trail                                        Contingent
          Cypress, TX 77433                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.94     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,283.57       $1,283.57
          Luis Soto                                                  Check all that apply.
          19 Lenny St.                                                  Contingent
          Gardner, MA 01440                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.95     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $435.16       $435.16
          Marc Compton                                               Check all that apply.
          10107 Fallmont Ct.                                            Contingent
          Houston, TX 77086                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.96     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $999.60       $999.60
          Margarito Robledo                                          Check all that apply.
          2440 Doreen St.                                               Contingent
          Grand Prairie, TX 75050                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.97     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $380.90       $380.90
          Mario Hernandez                                            Check all that apply.
          701 Trinity Circle                                            Contingent
          Apt 3041                                                      Unliquidated
          Arlington, TX 76006                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.98     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Mario Jenkins                                              Check all that apply.
          12703 Jones Rd                                                Contingent
          Apt 610                                                       Unliquidated
          Houston, TX 77070                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.99     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $982.39       $982.39
          Mario Molina                                               Check all that apply.
          1311 Greenoak Dr.                                             Contingent
          Houston, TX 77032                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.100    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $419.72       $419.72
          Mark Lipscomb                                              Check all that apply.
          832 Ginger Trail                                              Contingent
          DeSoto, TX 75115                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.101    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Massachusetts Department of                                Check all that apply.
          Revenue                                                       Contingent
          Customer Service Bureau                                       Unliquidated
          PO Box 7010                                                   Disputed
          Boston, MA 02204
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.102    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $583.02       $583.02
          Michael Lall                                               Check all that apply.
          1433 Green Shadow Dr                                          Contingent
          Houston, TX 77032                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.103    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,054.19       $1,054.19
          Mukesh Lall                                                Check all that apply.
          1433 Green Shadow Dr.                                         Contingent
          Houston, TX 77032                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.104    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,593.50       $2,593.50
          Neville Williams                                           Check all that apply.
          232 Largo Vista drive                                         Contingent
          Oakland, FL 34787                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.105    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          New York City Dept. of Finance                             Check all that apply.
          PO Box 3615                                                   Contingent
          Church Street Station                                         Unliquidated
          New York, NY 10008-3615                                       Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.106    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,997.40       $1,997.40
          Nicholas Harrilal                                          Check all that apply.
          9702 Suttons Meadow Ct.                                       Contingent
          Houston, TX 77086                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.107    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          NJ Division of Taxation                                    Check all that apply.
          50 Barrack Street                                             Contingent
          9th Floor                                                     Unliquidated
          Trenton, NJ 08695                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.108    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          NYC Department of Finance                                  Check all that apply.
          PO Box 5564                                                   Contingent
          Binghamton, NY 13902-5564                                     Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.109    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,773.29       $1,773.29
          Odell Jackson                                              Check all that apply.
          3806 N Beltline Road                                          Contingent
          Irving, TX 75038                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.110    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,018.83       $2,018.83
          Omar Shaikh                                                Check all that apply.
          2414 Prides Crossing Ln                                       Contingent
          Houston, TX 77067                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.111    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,525.29       $1,525.29
          Ono Hussain                                                Check all that apply.
          16398 SW 27TH Terrace Rd                                      Contingent
          Ocala, FL 34473                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.112    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,608.11       $1,608.11
          Patrick Charran                                            Check all that apply.
          1824 Darlin Circle                                            Contingent
          Orlando, FL 32820                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.113    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Patrick Skinner                                            Check all that apply.
          1600 Shivalry Ln                                              Contingent
          Fort Worth, TX 76140                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.114    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,122.61       $3,122.61
          Pedro Quintanilla                                          Check all that apply.
          943 White dove Dr.                                            Contingent
          Arlington, TX 76017                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.115    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $875.78       $875.78
          Peter Seymour                                              Check all that apply.
          190 Main St.                                                  Contingent
          Oxford, MA 01540                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.116    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,413.06       $1,413.06
          Prince Nico                                                Check all that apply.
          16539 Sperry Garden                                           Contingent
          Houston, TX 77095                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.117    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Quintin Bradford                                           Check all that apply.
          2615 River Hills Cir                                          Contingent
          Unit 1716                                                     Unliquidated
          Arlington, TX 76006                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.118    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,029.25       $1,029.25
          Rachard Lucas                                              Check all that apply.
          17 Prospect Street                                            Contingent
          Clinton, MA 01510                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.119    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Rajpaul Ballie                                             Check all that apply.
          444 lake Amberleigh Dr                                        Contingent
          Winter Garden, FL 34787                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.120    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $736.88       $736.88
          Ramish Khan                                                Check all that apply.
          4606 Trevor Hill Dr.                                          Contingent
          Houston, TX 77067                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.121    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $877.61       $877.61
          Randolph Jackson                                           Check all that apply.
          3704 Dahlia Drive                                             Contingent
          Grand Prairie, TX 75052                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.122    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,000.00       $2,000.00
          Reyas Alli                                                 Check all that apply.
          2505 Thompson Cir                                             Contingent
          Apt# 223                                                      Unliquidated
          Arlington, TX 76006                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.123    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Richard Andreoli                                           Check all that apply.
          176 Maple Ave                                                 Contingent
          Unit 4-03                                                     Unliquidated
          Rutland, MA 01543                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.124    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Richard Lacy                                               Check all that apply.
          2414 E Kiest                                                  Contingent
          Dallas, TX 75216                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.125    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,369.47       $1,369.47
          Richard Pellerin                                           Check all that apply.
          68 Federall Hill Rd                                           Contingent
          Oxford, MA 01540                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.126    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $990.96       $990.96
          Rizwan Khan                                                Check all that apply.
          3205 W Walnut Hills Ln                                        Contingent
          Apt# 2011                                                     Unliquidated
          Irving, TX 75038                                              Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.127    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $843.78    $843.78
          Roberto Lopez                                              Check all that apply.
          One Coolidge Place                                            Contingent
          Apt# 315                                                      Unliquidated
          Clinton, MA 01510                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.128    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $118.65    $118.65
          Rodney Dent                                                Check all that apply.
          2650 S Forum Dr                                               Contingent
          Apt# 7108                                                     Unliquidated
          Grand Prairie, TX 75052                                       Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.129    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,516.16    $1,516.16
          Rodney Johnson                                             Check all that apply.
          960 Leaden Hall Cir.                                          Contingent
          Channelview, TX 77530                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.130    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,344.85    $1,344.85
          Rodney Settles                                             Check all that apply.
          1801 Patterson Ave.                                           Contingent
          Orlando, FL 32811                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.131    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,475.54    $1,475.54
          Rohan Singh                                                Check all that apply.
          3721 Needles Dr.                                              Contingent
          Orlando, FL 32810                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.132    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,394.44    $1,394.44
          Roy Mancha                                                 Check all that apply.
          6812 Randolf Mill Rd.                                         Contingent
          Lot 222                                                       Unliquidated
          Fort Worth, TX 76120                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.133    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $932.30    $932.30
          Ryan Chajulall                                             Check all that apply.
          3150 Winifred Ave.                                            Contingent
          Zellwood, FL 32798                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.134    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,149.99    $2,149.99
          Ryan Haripal                                               Check all that apply.
          5049 Shale Ridge Trail                                        Contingent
          Orlando, FL 32818                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              United Business Freight Forwarders Limited Liability
 Debtor       Company                                                                                         Case number (if known)   16-10616
              Name

 2.135    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Ryan Stanley                                               Check all that apply.
          510 Grove Street                                              Contingent
          Worcester, MA 01605                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.136    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Ryan Williams                                              Check all that apply.
          232 Largovista Dr                                             Contingent
          Oakland, FL 34787                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.137    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,464.64       $1,464.64
          Sadanand Deowdhat                                          Check all that apply.
          635 Pamela Ave                                                Contingent
          Winter Garden, FL 34787                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.138    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $762.47       $762.47
          Samuel Gyan                                                Check all that apply.
          10 Henry Terrace                                              Contingent
          Apt # 4                                                       Unliquidated
          Worcester, MA 01607                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              United Business Freight Forwarders Limited Liability
 Debtor       Company                                                                                         Case number (if known)   16-10616
              Name

 2.139    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,461.22       $1,461.22
          Saul Giron                                                 Check all that apply.
          11902 Shady Meadow                                            Contingent
          Houston, TX 77039                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.140    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Shane Mayne                                                Check all that apply.
          47 Spruce St                                                  Contingent
          Clinton, MA 01510                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.141    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,210.32       $1,210.32
          Shilesh Hemraj                                             Check all that apply.
          2796 Woodland Creek Loop                                      Contingent
          Kissimmee, FL 34744                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.142    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,398.12       $1,398.12
          Simon Kironyo                                              Check all that apply.
          10 Denny Street                                               Contingent
          Apt# 5                                                        Unliquidated
          Worcester, MA 01609                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       Company                                                                                         Case number (if known)   16-10616
              Name

 2.143    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,249.99    $2,249.99
          Sohan Ramdayal                                             Check all that apply.
          2520 Thompson Circle                                          Contingent
          Apt# 353                                                      Unliquidated
          Arlington, TX 76006                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.144    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,158.54    $1,158.54
          Stanley Cazean                                             Check all that apply.
          16650 Sunrise Vista Dr.                                       Contingent
          South Clermont, FL 34714                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.145    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $364.24    $364.24
          Stephen Paniss                                             Check all that apply.
          19 Perry Ave                                                  Contingent
          Worcester, MA 01610                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.146    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $806.50    $806.50
          Steven Hernandez                                           Check all that apply.
          19 Leamer St                                                  Contingent
          Gardner, MA 01440                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              United Business Freight Forwarders Limited Liability
 Debtor       Company                                                                                         Case number (if known)   16-10616
              Name

 2.147    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Tennessee Department of Revenue                            Check all that apply.
          Andrew Jackson State Office                                   Contingent
          Building                                                      Unliquidated
          500 Deaderick Street                                          Disputed
          Nashville, TN 37242
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.148    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                                $0.00    $0.00
          Texas Comptroller of Public                                Check all that apply.
          Account                                                       Contingent
          PO Box 13528                                                  Unliquidated
          Capital Station                                               Disputed
          Austin, TX 78711-3528
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.149    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $416.90       $416.90
          Thomas Jernberg                                            Check all that apply.
          304 Bull Hill Rd                                              Contingent
          Lancaster, MA 01523                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.150    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $73.10       $73.10
          Valery Restaino                                            Check all that apply.
          4440 W Airport Hwy                                            Contingent
          Irving, TX 75062                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              United Business Freight Forwarders Limited Liability
 Debtor       Company                                                                                         Case number (if known)   16-10616
              Name

 2.151     Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                $0.00     $0.00
           Virginia Department of Taxation                           Check all that apply.
           PO Box 1115                                                  Contingent
           Richmond, VA 23218-1115                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Notice Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.152     Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $2,499.90        $2,499.90
           Vishwan Makie                                             Check all that apply.
           135 East Main St.                                            Contingent
           Apt.G2                                                       Unliquidated
           Westborough, MA 01581                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.153     Priority creditor's name and mailing address              As of the petition filing date, the claim is:                           $860.76        $860.76
           Ylorie Fajardo                                            Check all that apply.
           2003 Bunet Dr                                                Contingent
           Grand Prairie, TX 75052                                      Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.154     Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                $0.00     $0.00
           Zachary Nichols                                           Check all that apply.
           67 June St                                                   Contingent
           Worcester, MA 01603                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Notice Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 39 of 41
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 Debtor       Company                                                                                 Case number (if known)            16-10616
              Name

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.        $1,757,185.93
           PNC BANK, NATIONAL ASSOCIATION                                       Contingent
           COMMERCIAL SEGMENT - BBL                                             Unliquidated
           TWO TOWER CENTER BOULEVARD
                                                                                Disputed
           EAST BRUNSWICK, NJ 08816
           Date(s) debt was incurred
                                                                             Basis for the claim:    Guaranty
           Last 4 digits of account number                                   Is the claim subject to offset?         No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $17,653.08
           Taft Holdings Inc.                                                   Contingent
           Attn: Straubcos, LLC, Paul Straubinger                               Unliquidated
           1737 South Orange Avenue                                             Disputed
           Orlando, FL 32806
                                                                             Basis for the claim:    Trade Payables
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?         No     Yes


 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           United States Attorney                                               Contingent
           Peter Rodino Federal Building                                        Unliquidated
           970 Broad Street, Suite 700                                          Disputed
           Newark, NJ 07102
                                                                             Basis for the claim:    Notice Only
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?         No     Yes


 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $0.00
           United States Attorney General
           United States Department of Justice                                  Contingent
           Ben Franklin Station                                                 Unliquidated
           PO Box 683                                                           Disputed
           Washington, DC 20044
                                                                             Basis for the claim:    Notice Only
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?         No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                                      related creditor (if any) listed?             account number, if
                                                                                                                                                    any
 4.1       McCarter & English
           Attn: Lisa Bonsall, Esq.                                                                   Line     3.1
           Four Gateway Center
                                                                                                             Not listed. Explain
           100 Mulberry Street
           Newark, NJ 07102

 4.2       STRAUBINGER INC.
           7662 131ST ST                                                                              Line     3.2
           SEMINOLE, FL 33776
                                                                                                             Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                    139,374.86
 5b. Total claims from Part 2                                                                            5b.    +     $                  1,774,839.01


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 Debtor       Company                                                                             Case number (if known)   16-10616
              Name


 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.     $                1,914,213.87




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                  Page 41 of 41
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 Fill in this information to identify the case:

 Debtor name         United Business Freight Forwarders Limited Liability Company

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)         16-10616
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.      State what the contract or               Lease
           lease is for and the nature
           of the debtor's interest

              State the term remaining              12/19/2018                   Taft Holdings Inc.
                                                                                 Attn: Straubcos, LLC, Paul Straubinger
            List the contract number of                                          1737 South Orange Avenue
             any government contract                                             Orlando, FL 32806




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         United Business Freight Forwarders Limited Liability Company

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)         16-10616
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      Ajay Aggarwal                     21 Barbieri Court                                  PNC BANK,                         D
                                               Princeton, NJ 08540                                NATIONAL                          E/F       3.1
                                                                                                  ASSOCIATION
                                                                                                                                    G




    2.2      E Z Mailing                       669 Division Street                                PNC BANK,                         D
             Services, Inc.                    Elizabeth, NJ 07201                                NATIONAL                          E/F       3.1
                                                                                                  ASSOCIATION
                                                                                                                                    G




    2.3      E Z Mailing                       669 Division Street                                Taft Holdings Inc.                D
             Services, Inc.                    Elizabeth, NJ 07201                                                                  E/F       3.2
                                                                                                                                    G




    2.4      E Z Mailing                       669 Division Street                                CROSSROADS                        D   2.1
             Services, Inc.                    Elizabeth, NJ 07201                                EQUIPMENT LEASE                   E/F
                                                                                                  AND FINANCE,
                                                                                                                                    G




    2.5      E Z Mailing                       669 Division Street                                TOYOTA MOTOR                      D   2.2
             Services, Inc.                    Elizabeth, NJ 07201                                CREDIT                            E/F
                                                                                                  CORPORATION
                                                                                                                                    G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 2
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              United Business Freight Forwarders Limited Liability
 Debtor       Company                                                                        Case number (if known)   16-10616


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.6      Vijay Aggarwal                    19 Supra Ct                                        PNC BANK,                       D
                                               Princeton, NJ 08540                                NATIONAL                        E/F       3.1
                                                                                                  ASSOCIATION
                                                                                                                                  G




    2.7      E Z Mailing                       669 Division Street                                Taft Holdings Inc.              D
             Services, Inc.                    Elizabeth, NJ 07201                                                                E/F
                                                                                                                                  G   2.1




Official Form 206H                                                            Schedule H: Your Codebtors                                    Page 2 of 2
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